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 8                                  UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
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11   SUZANNE NA PIER,                                    Case No. 1:21-cv-00891-AWI-JLT
12                 Plaintiff,                            ORDER AFTER NOTICE OF SETTLEMENT
            vs.                                          (Doc. 7)
13
     RIDGECREST CAPITAL, L.P.,
14
                   Defendant.
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16
17          The plaintiff reports she has settled the matter and indicate she will seek dismissal of the action

18   soon. (Doc. 7 at 2) Thus, the Court ORDERS:

19          1.     The stipulation to dismiss the action SHALL be filed no later than September 3, 2021;

20          2.     All pending dates, conferences and hearings are VACATED.

21   The parties are advised that failure to comply with this order may result in the Court imposing

22   sanctions, including the dismissal of the action.
23
24   IT IS SO ORDERED.
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        Dated:    July 12, 2021                             _ /s/ Jennifer L. Thurston
26                                                CHIEF UNITED STATES MAGISTRATE JUDGE
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